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                            UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

IN RE: SOCIAL MEDIA ADOLESCENT                                 MDL No. 3047
ADDICTION/PERSONAL INJURY PRODUCTS
LIABILITY LITIGATION                                           Case Nos.:      4:22-md-03047-YGR (PHK)
                                                                               4:23-cv-05448-YGR

This Document Relates To:                                      JOINT LETTER BRIEF ON META’S
                                                               AMENDED 30(b)(6) NOTICE TO
People of the State of California, et al. v. Meta              STATE PLAINTIFFS
Platforms, Inc., et al.
                                                               Judge: Hon. Yvonne Gonzalez Rogers
                                                               Magistrate Judge: Hon. Peter H. Kang


Dear Judge Kang:

        Defendants Meta Platforms, Inc.; Instagram, LLC; Meta Payments, Inc.; and Meta
Platforms Technologies, LLC (collectively, “Meta”) and the State AGs that are pursuing consumer
protection claims in this litigation (collectively, the “Consumer Protection States” or the “States”)1
respectfully submit this letter brief regarding disputes over the following Topics included in Meta’s
Amended 30(b)(6) Notice to the States: Topics 2-8, 10, 15, 17-19, and 31. An example of Meta’s
amended notice to the States is attached as Exhibit A. A document setting forth Meta’s narrowing
of the disputed topics and agreement to provide advance notice of representative documents and
information is attached as Exhibit B.

Pursuant to the Discovery Standing Order and Civil Local Rule 37-1, the Parties attest that they
repeatedly met and conferred by video conference, email, and correspondence before filing this
brief. Because all lead counsel were not located in the geographic region of the Northern District
of California or otherwise located within 100 miles of each other, they met via videoconference
for an H.2 conferral on March 14, 2025, and continued to confer in writing and by
videoconference thereafter. Lead trial counsel have concluded that no agreement or negotiated
resolution can be reached.




1
  For purposes of this Joint Letter Brief, the “Consumer Protection States” (or, alternatively, the
“States”) are California, Colorado, Connecticut, Delaware, Illinois, Indiana, Kansas, Kentucky,
Louisiana, Minnesota, Nebraska, New Jersey, New York, North Carolina, Pennsylvania, Virginia,
Oregon, South Carolina, and Wisconsin. As set forth in prior letter briefing, Meta reserves all
rights to seek additional discovery of States not included in this list to the extent they fail to finalize
dismissal of their consumer protection claims with prejudice or later seek to assert consumer
protection claims in any way.


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Dated: March 28, 2025               Respectfully submitted,

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Meta’s Position: Meta has worked to address the Consumer Protection States’ scope and burden
concerns, including by offering to (i) provide advance notice of representative documents and
information, and (ii) materially narrow the disputed topics in dispute in other ways (as reflected in
the attached Exhibit B). The States completely fail to note those substantial concessions in arguing
that Meta’s topics are “vague, overbroad, and unduly burdensome.” Instead, the States seek further
unreasonable limitations. For example:

    ● Despite alleging broadly that “social media” has caused teen mental health issues, the
       States seek to avoid questioning on any platforms other than Facebook and Instagram,
       frustrating Meta’s ability to defend against non-specific allegations of harm.

    ● The Consumer Protection States seek to impose limitations “consistent with the March
       DMC,” but disregard that the March DMC exclusively involved COPPA claims that the
       COPPA-only States conceded “had nothing to do with” teen mental health.

    ● The States seek to avoid providing testimony by deferring to experts, but disregard that (i)
       Meta has a right to obtain the States’ knowledge on issues separate from its experts and (ii)
       if the State lacks knowledge on a topic, it can say so during the deposition

    ● The States seek to prevent questioning on topics this Court has repeatedly determined are
       relevant and discoverable, including potential alternate causes of teen mental health issues
       (Topic 17). See ECF 1479 at 16–17.

The States’ objections to Meta’s substantially narrowed 30(b)(6) topics should be denied.

     1. Topics About Other Platforms and “Social Media” Generally Should Be Allowed.

The States’ consumer protection claims rely on broad allegations about the purportedly harmful
effects of social media generally, including non-Meta services. See, e.g., Compl. ¶508-26 (alleging
that “[i]ncreased use of social media platforms, including those operated by Meta” result in harms).
As such, Topics 2–6, 8, 10, and 31 match the scope of the States’ claims by seeking information
relating to “Social Media Platforms” generally.2 In response to the States’ burden and scope
concerns, Meta agreed to limit its questioning to six specific platforms that have been involved in
teen mental health litigation: Facebook, Instagram, TikTok, Snapchat, YouTube, and Twitter/X.
Meta offered to further limit its topics to Facebook and Instagram, but only if the States would be
willing not to use documents referring generally to “social media” harms without specific
attribution. The States refused.

Information about other platforms and “social media” generally is relevant to Meta’s defenses,
particularly if the States intend to use general evidence. For example, if the States encouraged the
use of Twitter, Snapchat, or TikTok to improve teen mental health during the pandemic, or
discouraged use of one service but not others, that evidence rebuts the States’ causation theories.


2
 The Consumer Protection States argue that the Court’s COPPA-only ruling should apply to them.
But unlike here, the COPPA-only states confirmed that their statutory claims do not relate to
“social media” generally or teen mental health, but instead just to Facebook and Instagram.


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Similarly, Meta should be allowed to ask about any State-related studies that discuss social media’s
benefits to teen mental health even if they are general or cover other platforms.

   2. The States’ Topic-Specific Objections Should Be Denied.

Topic 2: Topic 2 originally sought testimony about the States’ “use” of Social Media Platforms.
In response to the States’ (and the Court’s) concerns, Meta agreed to limit Topic 2 to three types
of use: (i) advertisements, (ii) promotions, and (iii) posts. Meta also agreed to identify exemplar
documents in advance, to ease the States’ preparation burden. These narrowed forms of use are
critically relevant: efforts to advertise to teenagers or posts extolling the benefits of social media
could undermine the credibility of the States’ claims that social media causes teen mental health
issues (which is a core issue in their consumer protection claims). Even though some of this
information may be publicly available, Meta should still be permitted to ask the Plaintiff States
questions about their advertisements and posts–i.e., to get testimony about purposes and content.
The States’ arguments are not reasons to strike the narrowed Topic 2 entirely.

Topic 5: Meta agreed to narrow Topic 5 in three respects: (i) deleting “communications,” (ii)
limiting it to “collaborations” that target social media use, and (iii) identifying any Facebook- or
Instagram-specific collaborations in advance. Even if some of this information is in Meta’s
possession (collaborations with other platforms is not), Meta should be permitted to develop
testimony regarding the States’ knowledge and understanding of their half of the collaboration—
e.g., if the State agrees that their collaboration with a platform improved teen mental health. The
States ignore these points.

Topic 7: Meta has agreed to narrow Topic 7 by focusing on State-directed efforts (as opposed to
purely local or county-directed efforts) and excluding colleges, but there is no basis to arbitrarily
exclude State-directed efforts to make internet or devices available through elementary, middle, or
high schools or their libraries. Among other things, internet access and devices increase access to
social media, and it is relevant if State efforts increased social media use or if the States made
technology available without limiting social media access (including after filing this case).

Topics 8 and 15: Meta agreed to (i) limit these topics to studies, research, tests, etc. that the States
“created, considered, relied on, or contributed to in any way” and (ii) identify specific examples
in advance (which should address the States’ prep burden concerns). The States still refused,
demanding that these topics be further limited to research the States “conducted and/or directly
funded.” The States’ demand is too narrow; among other things, it would exclude studies that a
State closely reviewed or made meaningful contributions to if there was no “direct funding”--
something Meta may not even be able to discern without a deposition. It would also unjustifiably
exclude research that the States considered or chose to rely (or not rely) on when taking action on
core social media or teen mental health issues. That information is critically important to Meta’s
defenses–e.g., if State mental health policy decision-makers disagreed with conclusions
concerning a purported link between social media and teen mental health in a way that undermines
the State’s current litigation position or the positions taken by its experts.

Topic 10: Meta has agreed to limit the scope of Topic 10 to “public or identified non-public” State
meetings on Social Media Platforms. The States claim it would be “infeasible” to prepare a State
witness on this topic, but there is nothing infeasible about preparing a witness to testify about


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meetings that happened publicly or that Meta specifically identifies in advance. There is no basis
to further limit this Topic, and the States tellingly do not suggest anything specific.

Topic 17: This topic exclusively seeks the States’ factual knowledge of factors besides social
media that may have negatively impacted teen mental health, an issue this Court has repeatedly
held is relevant and discoverable. The States claim that it would be too hard to prepare a State
witness on this topic because information might reside with employees, but the Court has also
repeatedly rejected that argument, including at the most recent DMC. See 3/20 DMC Tr. at 41:24–
42:2 (excusing the States from “drilling down to each individual employee”). Moreover, it makes
no difference if the States may later offer expert evidence on these issues. Right now, Meta is only
seeking the States’ knowledge; if the States don’t have any knowledge, it is important to Meta’s
defense that the States say so. Finally, the States’ suggestion that this is a “contention” topic is
wrong for several reasons: (i) the States have not made any contentions here about alternate causes
of teen mental health harms, (ii) the topic as written only seeks the States’ factual knowledge and
bears no resemblance to topics that this Court previously struck, and (iii) the States’ tellingly did
not include Topic 17 in prior briefing on contention issues.

Topic 18: This topic seeks testimony about teen mental health services. The States seek to limit
this topic to “direct services,” but that would carve out broad swathes of relevant services that
States provide indirectly, such as the youth mental health services that the Kentucky Department
of Behavioral Health provides “through contracts with the regional Community Mental Health
Centers and other entities.” The States’ limitation also would exclude analyses of State services,
such as State conclusions about the sufficiency of its funding of teen mental health services. Meta
should be entitled to develop testimony about relevant State services even if those services were
not “directly” to patients. Moreover, Meta’s agreement to identify representative services and
documents in advance allays any potential burden or preparation concerns.

Topic 19: Meta will not ask witnesses to recite budgets or expenditures from memory, but it should
be permitted to ask clarifying questions about financial documents that have been produced. The
States have noticed Meta’s Rule 30(b)(6) testimony on audited financial statements, so there is no
basis for the States to resist reciprocal testimony.

Plaintiffs’ Position: Despite this Court’s instructions advising that Rule 30(b)(6) topics require
“painstaking specificity,” Meta refuses to adequately narrow certain vague and overbroad topics
served on State Plaintiffs. “The court has wide discretion to determine what constitutes a showing
of good cause and to fashion a protective order that provides the appropriate degree of protection.”
Grano v. Sodexo Mgt., Inc., 335 F.R.D. 411, 414 (S.D. Cal. 2020) (citation omitted). “While [Rule]
26(b)(1) permits a party to obtain discovery regarding any nonprivileged matter that is relevant to
any party's claim or defense, courts have limited discovery where the breadth of subjects and
number of topics identified in a [Rule] 30(b)(6) deposition notice renders a responding party's
efforts to designate a knowledgeable person unworkable.” Luken v. Christensen Grp. Inc., 2018
WL 1994121, at *2 (W.D. Wash. Apr. 27, 2018) (internal quotations omitted); Apple Inc. v.
Samsung Elecs. Co., 2012 WL 1511901, at *2 (N.D. Cal. Jan. 27, 2012). As stated more fully
below, the State AGs thus respectfully request this Court to issue a Protective Order under Fed. R.
Civ. P. 26(c) limiting the scope of Meta’s Amended Topics as follows: (a) to entirely strike Topics
2, 5, 15, 17, and 19; and (b) to narrow Topics 3, 4, 6, 7, 8, 10 and 18, and 31, including as relevant,
to pertain only to the platforms at issue in the State AGs’ action, Facebook and Instagram.


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           I.       Topics that Should be Stricken Entirely (Topics 2, 5, 15, 17, and 19)

Meta seeks testimony for how each State has “used” social media platforms and has only offered
to identify examples of such use. (Topic 2). At the March Discovery Management Conference
(“DMC”), Meta identified posts by a specific Washington State agency as an example of “use” per
this Topic. Regarding Meta Defendants, such “use” information is more readily within
Defendants’ possession, and this Topic is unsuited for examination given the breadth of the term,
“use.” (Mar. DMC Tr.50:16-51:22). Meta’s further request for testimony regarding “use” of other
social media platforms also lacks foundation. Whether and how State Plaintiffs (not to mention
state agencies or employees) used other platforms has no bearing on whether Meta’s platforms
were directed to children, whether Meta deceived the public, or whether Meta’s features unfairly
exploited or harmed young users. Meta’s request for the State’s collaborations with both
Defendants and other, nonparty social media platforms (Topic 5) is similarly improper. Meta does
not need a witness to tell it how States have collaborated with Meta, (Mar. DMC Tr. 56:15-21),
and Meta has no basis to seek 30(b)(6) testimony regarding States’ work with an entire industry.

Meta seeks 30(b)(6) testimony regarding research, investigations, tests, studies, surveys, reports,
evaluations, or analysis “to address”3 harms of social media platforms generally, which in
conferrals, Meta claimed to include research state employees may have “considered” (Topic 15),
as well as the Plaintiff’s “knowledge and/or understanding” of the mental health impacts of twenty-
one-plus sophisticated subtopics. (Topic 17(a)-(u)). In conferrals, Meta claimed it could not narrow
Topic 17 because it needs to be able to ask Plaintiffs if they “believe” (i.e., contend) that various
issues harm youth. First, the practical reality is that any testimony about Plaintiffs’ “knowledge
and/or understanding” would need to be derived from individual employees. Second, the Topics
amount to improper contention topics seeking the Plaintiffs’ beliefs regarding alternate
explanations of harm and issues of causation and relatedly, third, these Topics seek expert
testimony on the mental health impacts of sophisticated issues for which designated experts will
provide reports and testimony. Meta will undoubtedly confront Plaintiffs’ experts on these issues,
so deposing 30(b)(6) designees about Plaintiffs’ contentions and beliefs about such complex,
science-based issues is unproductive. U.S. v. HVI Cat Canyon, Inc., 2016 WL 11683593, at *7
(C.D. Cal. Oct. 26, 2016) (collecting cases).

Meta seeks testimony regarding budgeted and actual expenditures for health services to minors.
(Topic 19). Much like the Court recognized at the March DMC, and much like how Meta has
agreed to rely on documents or financial statements for investments and revenues, Topic 19 is
better suited for review of publicly available information or documents. The State AGs agreed to
identify such information, but Meta insists that, by flagging specific budget documents and
promising not to “quiz” witnesses, the Topic should be acceptable. It is not, because relevant
information for budgets would be best reflected in documents themselves, and requiring a 30(b)(6)
deponent to provide further details would be unduly burdensome given any marginal relevance.

           II.      Topics Requiring Specific Limitations (3, 4, 6, 7, 8, 10, 18 and 31)



3
  Meta omits “to address” from Topic 15 in its argument, but doing so actually broadens rather
than narrows that already disproportionately broad Topic.


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State Research (Topic 8): The State AGs seek to make Topic 8 proportionate and feasible for
30(b)(6) testimony by limiting it to the State’s own research or studies it conducted regarding the
use, harms or benefits of Defendants’ social media platforms to persons under age 18. Meta
refused, claiming that Topic 8 includes any research or study a state employee “considered” or
“relied on.” Preparing for a 30(b)(6) deposition becomes “less realistic and increasingly impossible
as the number and breadth of noticed subject areas expand.” HVI Cat, 2016 WL 11683593, at *7
(cleaned up). It is not feasible to identify, much less prepare a designee on what research state
employees considered or knew, as opposed to the Plaintiff States’ own studies or research. Further,
if any such other studies are relied upon by the States’ experts, the cross-examination and probing
of those scientific findings are for expert discovery. Id.

Limitations Consistent with the March DMC (Topics 3, 4, 6, 10, and 31): Meta has partially
agreed to limit Topic 6 consistent with the Court’s instructions during the March 20 DMC relating
to striking “communications” and agreeing to limit questioning to “actual or identified potential”
programs. But Meta still seeks to question the Plaintiffs about other social media platforms on this
Topic. Like set forth above, that has no bearing on issues in this case, and to the extent they seek
the States’ beliefs via this Topic, that amounts to seeking alternate explanation contentions more
suited for expert testimony. The same arguments apply to Topic 10, which Meta has merely agreed
to limit to “identified non-public meetings,” but that is still infeasible for preparing the State party
witness on the contents of internal conversations between State employees within their respective
agencies, and meetings regarding other social media platforms are similarly improper. Meta
likewise refuses to limit its definition of “Social Media Platforms” in Topics 3, 4 and 31 because,
supposedly, the States’ (but not individual agencies’ or employees’) views about other social
media are relevant for defeating or limiting liability as alternate explanations of alleged harms. But
it is hard to understand how State programs or efforts to “encourage, promote, or discourage the
use of” other platforms or States’ “views” about non-Meta platforms directed to kids under age
13, are probative of alternate causes of harm, or again, substantive contentions on subjects being
addressed by experts. (Topics 3, 4 and 31).4

Topics Regarding Large State Administrative Programs (Topics 7 and 18): Meta’s Topic 7
about efforts “involving the State” to provide telecommunication services or devices to young
people is overly broad and vague as it implicates States’ broad and complex education systems
and their relationships with localities across each State, even if funding or resources are provided
at the State level. The State AGs asked to exclude programs or funding of local schools and
libraries, but Meta refused and did not explain how testimony about state education systems
providing schools with access to technology is relevant, much less proportionate to the burden of
preparing a designee on this vast and complex area of state government. Similarly, the State AGs
asked Meta to confirm that Topic 18 did not call for testimony regarding administrative programs
by which States do not directly provide health services to patients. Meta refused, claiming that
even a State’s Medicaid programs would be covered as to the behavioral health services delivered
through third-party providers to youth. Given this disproportionate burden and marginal relevance,
Topics 7 and 18 should be limited to the State’s direct provision of telecommunication services,
devices or behavioral health treatments to youth.



4
    Meta has agreed to limit Topic 31 to the “relevant period” (January 1, 2012 – April 1, 2024).


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                                    ATTESTATION

       I, Ashley M. Simonsen, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the
concurrence to the filing of this document has been obtained from each signatory hereto.

Dated: March 28, 2025
                                          By: /s/ Ashley M. Simonsen
                                                  Ashley M. Simonsen




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